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                                                                                 2020 May-19 PM 04:19
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA

KENNETH COX, ANTUWANE TATE,
WILLIAM WHITLEY, BRANDON MCCOLLINS,
and VALENTI ARMSTEAD,
individually and on                     *
behalf of all other similarly situated, *
                                        *
              Plaintiffs,               *
                                        *
v.                                      * Case No.: 5:19-CV-00577-LCB
                                        *
BIMBO BAKERIES USA INC and              *
BIMBO FOODS BAKERIES                    *
DISTRIBUTION LLC,                       *
                                        *
              Defendants.               *




  PLAINTIFFS’ UNOPPOSED MOTION TO APPROVE SETTLEMENT
                      AGREEMENT


      Plaintiffs Kenneth Cox, Antuwane Tate, William Whitley, Brandon

McCollins, And Valenti Armstead, individually and behalf of all others similarly

situated, and Defendant Bimbo Bakeries USA Inc., and Bimbo Foods Bakeries

Distribution, LLC (collectively “the Parties”) have reached a proposed settlement of

Plaintiffs’ claims under the Fair Labor Standards Act. Additionally, the Parties have

reached an agreement as to a number on Plaintiffs’ attorneys’ fees and costs.



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      The Parties respectfully request that the Court approve the proposed

settlement because it was reached as a result of contested litigation, and is a fair and

reasonable resolution of a bona fide dispute between the Parties. For these reasons,

discussed more fully in the accompanying memorandum, Plaintiffs’ Motion should

be granted.


                                        Respectfully submitted,


                                        By: /s/J. Russ Bryant
                                        Gordon E. Jackson* (TN BPR #08323)
                                        J. Russ Bryant* (TN BPR #33830)
                                        Paula R. Jackson* (TN BPR #20149)
                                        Robert E. Morelli III* (TN BPR #37004)
                                        JACKSON, SHIELDS, YEISER HOLT
                                        OWEN & BRYANT
                                        Attorneys at Law
                                        262 German Oak Drive
                                        Memphis, Tennessee 38018
                                        T: (901) 754-8001
                                        F: (901) 759-1745
                                        E: gjackson@jsyc.com
                                        rbryant@jsyc.com
                                        pjackson@jsyc.com
                                        rmorelli@jsyc.com

                                        Kimberly E. Linville (ASB-7835-K33-P)
                                        Larry B. Moore (ASB-4345-O74-L)
                                        Ian Michael Berry (ASB-7372-A32-B)
                                        MOORE, BERRY & LINVILLE
                                        211 North Court Street
                                        Florence, Alabama 35630
                                        T: (256) 718-0120
                                        F: (256) 718-0251
                                        E: klinville@mblattorneys.com
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                                         lbmoore@mblattorneys.com
                                         imberry@mblattorneys.com

                                                       &

                                         Michael L. Weinman* (TN BPR #015074)
                                         WEINMAN & ASSOCIATES
                                         101 N. Highland Ave.
                                         P.O. Box 266
                                         Jackson, Tennessee 38302
                                         T: 731-423-5565
                                         F: 731-423-5372
                                         E: mike@weinmanthomas.com

                                         *Admission Pro Hac Vice

                                         Attorneys for Plaintiffs


                           CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was filed electronically on this
the 19th day of May, 2020. Notice of this filing will be sent by operation of the
Court’s electronic filing system to all parties indicated on the electronic filing receipt
and below. Parties may access this filing through the Court’s electronic filing
system.

                                         /s/J. Russ Bryant




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